                 Case 2:20-cv-00901-LMA-DMD Document 5-1 Filed 03/17/20 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District
                                                    __________  DistrictofofLouisiana
                                                                             __________

   B.W., a deceased minor, through representatives                    )
    LATOYA CARNEY, and BYRON WILSON, SR.                              )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 2:20-cv-00901
                                                                      )
 CITY OF NEW ORLEANS, SHAUN FERGUSON, ALEX
 MIKKELSEN, JONATHAN BROOM, JEFFREY HARRINGTON,                       )
 ALEX FLORIAN, WILLIAM HERY, COLBY STEWART, ABC                       )
 Insurance Companies, DOE DISTRICT COMMANDER, and DOES                )
 1-10,
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jonathan Broom
                                           Through City Attorney
                                           Sunni J. LeBeouf
                                           1300 Perdido St, Suite 5E03
                                           New Orleans, LA 70112




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           William Most
                                           Law Office of William Most
                                           201 St. Charles Ave., Ste. 114, #101
                                           New Orleans, LA 70170
                                           (504) 509-5023
                                           williammost@gmail.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                  Case 2:20-cv-00901-LMA-DMD Document 5-1 Filed 03/17/20 Page 2 of 2

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 Civil Action No. 2:20-cv-00901

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Jonathan Broom
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
